Case 1:21-cr-00301-TJK Document 58-6 Filed 07/07/23 Page 1Exhibit
                                                           of 11 Six
Case 1:21-cr-00301-TJK Document 58-6 Filed 07/07/23 Page 2 of 11
Case 1:21-cr-00301-TJK Document 58-6 Filed 07/07/23 Page 3 of 11
Case 1:21-cr-00301-TJK Document 58-6 Filed 07/07/23 Page 4 of 11
Case 1:21-cr-00301-TJK Document 58-6 Filed 07/07/23 Page 5 of 11
Case 1:21-cr-00301-TJK Document 58-6 Filed 07/07/23 Page 6 of 11
Case 1:21-cr-00301-TJK Document 58-6 Filed 07/07/23 Page 7 of 11
Case 1:21-cr-00301-TJK Document 58-6 Filed 07/07/23 Page 8 of 11
Case 1:21-cr-00301-TJK Document 58-6 Filed 07/07/23 Page 9 of 11
Case 1:21-cr-00301-TJK Document 58-6 Filed 07/07/23 Page 10 of 11
Case 1:21-cr-00301-TJK Document 58-6 Filed 07/07/23 Page 11 of 11
